
55 So.3d 605 (2011)
Darshan SPENCER, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-5065.
District Court of Appeal of Florida, First District.
January 19, 2011.
Rehearing Denied March 8, 2011.
Darshan Spencer, pro se, Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant has sought review of a final order rendered in the lower tribunal on August 13, 2010. Because the notice of appeal was not filed within 30 days of rendition, the appeal is untimely. Accordingly, the appeal is dismissed.
BENTON, C.J., VAN NORTWICK and ROBERTS, JJ., concur.
